                UNITED STATES DISTRICT COURT FOR THE
                 MIDDLE DISTRICT OF NORTH CAROLINA
                            Durham Division

VICTOR VOE, by and through his parents
and next friends, Vanessa Voe and Vance
Voe; VANESSA VOE; VANCE VOE;
RILEY SMITH, M.D., on behalf of his
patients; JOY DOE, by and through her            Civil No. 1:23-cv-864
parents and next friends, Jennifer Doe and
James Doe; JENNIFER DOE; JAMES
DOE; PFLAG, INC.; AMERICAN                       SECOND AMENDED COMPLAINT
ASSOCIATION OF PHYSICIANS FOR                    FOR DECLARATORY AND
HUMAN RIGHTS, INC. d/b/a GLMA:                   INJUNCTIVE RELIEF
HEALTH                 PROFESSIONALS
ADVANCING LGBTQ+ EQUALITY,

             Plaintiffs,

      v.

THOMAS MANSFIELD, in his official
capacity as Chief Executive Officer of the
North Carolina Medical Board; and
CHRISTINE        M.    KHANDELWAL;
DEVDUTTA            G.       SANGVAI;
ANURADHA RAO-PATEL; CANDACE
A.     BRADLEY;        WILLIAM         M.
BRAWLEY; W. HOWARD HALL; N.
MELINDA HILL-PRICE; SHARONA Y.
JOHNSON; JOSHUA D. MALCOLM;
MARK A. NEWELL; MIGUEL A.
PINEIRO; ROBERT RICH, JR.; and
DAVID P. SOUSA, in their official
capacities as members of the North
Carolina Medical Board; NORTH
CAROLINA          DEPARTMENT           OF
HEALTH AND HUMAN SERVICES;
KODY KINSLEY, in his official capacity
as Secretary of the Department of Health
and Human Services,



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                  Defendants,

    and

    PHILIP E. BERGER, in his official
    capacity as President Pro Tempore of the
    North Carolina Senate, and TIMOTHY K.
    MOORE, in his official capacity as
    Speaker of the North Carolina House of
    Representatives,

    Intervenor-Defendants.



           Plaintiffs, by and through their attorneys, bring this Complaint against the above-

named Defendants, and state the following in support thereof:

                                PRELIMINARY STATEMENT

           1.    On June 29, 2023, the North Carolina General Assembly ratified House Bill

808 (the “Health Care Ban,” the “Ban,” or “H.B. 808”), which prohibits healthcare

professionals from providing evidence-based, widely accepted, necessary, and potentially

life-saving medical care to transgender adolescents. The Ban also prohibits the use of state

funds, directly or indirectly, to support the provision of gender-affirming medical care or

its coverage by a governmental health or insurance plan. 1 The law was passed over the

sustained and robust opposition of medical experts and providers in North Carolina and

across the country. It was also passed over the pleas of families across North Carolina who


1
      The Ban expressly provides that its public funding prohibition shall not apply to the
      State Health Plan for Teachers and State Employees while the permanent injunction,
      granted by Mem. Op. & Order, Kadel v. Folwell, No. 1:19-cv-272 (M.D.N.C. June 10,
      2022), ECF No. 234, remains in place.

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urged lawmakers not to interfere in the medical decision-making of parents, their

adolescent children, and their doctors.

       2.     On July 5, Governor Roy Cooper vetoed the bill—recognizing that this

treatment is not experimental or harmful but rather reflects “approved medical protocols,”

and that “North Carolina should continue to let parents and medical professionals make

decisions about the best way to offer gender care for their children.” 2 But the North

Carolina General Assembly overrode the Governor’s veto on August 16, 2023, making the

law effective immediately. The law’s passage has been devastating for North Carolina

families with a transgender adolescent. The Ban violates the rights of North Carolina

adolescents and their parents under the Fourteenth Amendment, the Affordable Care Act,

and the Early and Periodic Screening, Diagnostic, and Treatment provisions of the

Medicaid Act; and unless this Court grants the relief that Plaintiffs seek, the Ban will

continue to cause severe and irreparable harm.

       3.     Medical providers have long followed evidence-based and comprehensive

clinical practice guidelines that recommend certain medical treatments for gender

dysphoria, which is a serious medical condition characterized by clinically significant

distress caused by incongruence between a person’s gender identity and the sex they were

designated at birth. These guidelines provide a framework for the safe and effective




2
    See Roy Cooper, Governor Roy Cooper Objections and Veto Message (July 5, 2023),
    https://webservices.ncleg.gov/ViewBillDocument/2023/6811/0/H808-BD-NBC-
    11125.

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treatment of gender dysphoria, which, if left untreated, can have dire and serious

consequences for the health and wellbeing of transgender people, including adolescents.

       4.     All major medical associations in the United States recognize these medical

guidelines as authoritative and that adolescents with gender dysphoria may require medical

interventions to treat clinically significant distress associated with their condition.

       5.     The Health Care Ban interferes with the ability of doctors to follow these

evidence-based protocols by prohibiting medical professionals from “prescrib[ing],

provid[ing], and dispens[ing] puberty-blocking drugs or cross-sex hormones to a minor”

for gender transition or from performing “surgical gender transition procedure[s] on a

minor.” N.C. Gen. Stat. § 90-21.151 (2023). In so doing, the Ban denies adolescents

medically necessary treatment solely because it is provided for the purpose of “gender

transition.” Id. It also prevents parents from exercising their fundamental right to obtain

medically necessary care for their adolescent children. Finally, the Ban prohibits doctors

from treating their patients in accordance with well-established standards of care, and it

also subjects doctors to draconian penalties for doing so—including the loss of their

medical license and civil liability.

       6.     While the Ban’s sponsors contend that it is necessary to protect minors from

supposedly “experimental” treatments, decades of clinical experience and research have

shown that gender-affirming health care is safe and effective, and that it improves the

health and well-being of adolescents with gender dysphoria.




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       7.     Moreover, and critically, the Health Care Ban does not seek to prohibit the

medical treatments at issue for all medical conditions; rather, it prohibits the provision of

these treatments only when they are performed for the purpose of “gender transition.” Id.

In other words, the Ban prohibits the provision of these treatments only when used to treat

a transgender adolescent’s gender dysphoria, even though the risks of the treatments are

materially the same.

       8.     The Health Care Ban was passed because of, and not in spite of, its

differential treatment of transgender adolescents, like Victor Voe, Joy Doe, and Dr. Riley

Smith’s patients, depriving them of necessary, safe, and effective medical care, thereby

interfering with and overriding the clinical and evidence-based judgment of medical

providers and the decision-making of loving parents, like Vanessa and Vance Voe and

Jennifer and James Doe.

       9.     The Ban has and will continue to have devastating consequences for

transgender youth and their families in North Carolina. Transgender adolescents with

gender dysphoria will be unable to obtain the medical care that those who understand their

medical needs—their doctors and parents—agree they need. Untreated gender dysphoria

is associated with severe harm, including anxiety, depression, and suicidality. Cutting

vulnerable adolescents off from treatment or withholding necessary care has and will

inevitably continue to cause significant harm.

       10.    Some parents of transgender children are making plans to flee the State to

protect their children’s health and safety and to obtain the medical treatment their children



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need. Those with the resources to do so will have to leave their jobs, businesses, extended

families, and communities. Others will have to shoulder the hardship of disruptive and

expensive travel to secure medical care for their children, often at the expense of the child’s

time in school and the parents’ time at work.

       11.    Other families that do not have the resources or are otherwise unable to leave

or travel are terrified about what will happen if the law continues to remain in effect. This

is especially true for families on Medicaid, who, by definition, have limited financial

resources. For these parents and hundreds of others across North Carolina, the Ban is

creating a sense of desperation at the prospect of watching their children’s suffering resume

and symptoms possibly worsen as they are unable to access the critical medical care that

they need.

       12.    The Health Care Ban not only gravely threatens the health and wellbeing of

transgender adolescents in North Carolina; it is also unconstitutional. The Ban violates the

Equal Protection Clause of the Fourteenth Amendment because it discriminates against

transgender minors on the basis of sex and transgender status. For similar reasons, the

Ban’s discrimination based on sex violates the Affordable Care Act. The Ban also violates

the right to parental autonomy that is guaranteed to all parents by the Due Process Clause

of the Fourteenth Amendment by depriving only the parents of transgender minors of their

fundamental right to make decisions concerning the care, custody, and control of their

children by seeking medical care for their children that healthcare providers have

recommended. Finally, the Ban violates the Early and Periodic Screening, Diagnostic, and



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Treatment provisions of the Medicaid Act, which require the North Carolina Medicaid

program to cover services that are necessary to “correct or ameliorate” a health condition

for beneficiaries under age 21.

       13.    Given the grave harms imposed by the Ban, Plaintiffs urgently seek relief

from this Court.

                                     THE PARTIES

       A.     Family Plaintiffs.

       14.    Plaintiffs Vanessa Voe and Vance Voe, and their ten-year-old son Victor Voe

(“Minor Plaintiff”) live in Durham County, North Carolina. Victor is transgender. He

knew from a very young age that his gender identity did not match his sex assigned at birth,

and he generally lives as the boy he is in every aspect of life. However, with his puberty

approaching, Victor will need medical care that is prohibited by the Health Care Ban.

       15.    Plaintiffs Jennifer Doe and James Doe (collectively referred to herein as the

“Parent Plaintiffs,” along with Vanessa and Vance Voe), and their ten-year-old daughter

Joy Doe (“Minor Plaintiff”) live in Wake County, North Carolina. Joy is transgender. She

knew as early as when she was two years old that her gender identity did not match her sex

assigned at birth, and she generally lives as a girl in every aspect of her life. Joy now

requires medical care that is prohibited by the Health Care Ban.

       B.     Provider Plaintiff.

       16.    Plaintiff Dr. Riley Smith (the “Provider Plaintiff”) is a physician licensed to

practice medicine in North Carolina. Dr. Smith currently practices medicine at the



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University of North Carolina School of Medicine’s Department of Family Medicine, which

is located in Chapel Hill, North Carolina. Prior to the Health Care Ban, he provided gender-

affirming medical care that the Ban now prohibits. Dr. Smith is bringing claims in his

personal capacity on behalf of his patients.

       C.     Association Plaintiffs.

       17.    Plaintiff PFLAG is a 501(c)(3) national membership nonprofit organization

based in Washington, D.C. and incorporated in California. PFLAG is the first and largest

organization dedicated to supporting, educating, and advocating for lesbian, gay, bisexual,

transgender, and queer (“LGBTQ+”) people, their parents and families, and allies. PFLAG

has a network of nearly 350 local chapters throughout the United States, 17 of which are

in North Carolina. This includes chapters in Alamance, Durham, Forsyth, and Guilford

Counties. People who identify as LGBTQ+ and their parents, families, and allies become

PFLAG members by joining the national organization directly or through one of its local

chapters. Of more than 350,000 members and supporters nationwide, PFLAG has a roster

of nearly 400 members in North Carolina, including many families of transgender youth

who currently receive or will soon need to access the medical treatment for gender

dysphoria prohibited by the Ban. PFLAG’s mission is to create a caring, just, and affirming

world for LGBTQ+ people and those who love them. Encouraging and supporting parents

and families of transgender and gender non-conforming people in affirming their children

and helping them access the supports and care they need is central to PFLAG’s mission.




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PFLAG asserts its claims in this lawsuit on behalf of its members. The Voe and Doe

families are members of PFLAG.

      18.    Plaintiff GLMA is a 501(c)(3) national membership nonprofit organization

based in Washington, D.C. and incorporated in California. GLMA’s mission is to ensure

health equity for LGBTQ+ people and equality for LGBTQ+ health professionals in their

work and learning environments. GLMA’s membership includes approximately 1,000

member physicians, nurses, advanced practice nurses, physician assistants, researchers and

academics, behavioral health specialists, health profession students, and other health

professionals, including members in North Carolina. GLMA asserts its claims in this

lawsuit on behalf of its members. Plaintiff Dr. Riley Smith is a member of GLMA.

      D.     Defendants.

      19.    Defendant Thomas Mansfield is the Chief Executive Officer (“CEO”) of the

North Carolina Medical Board. Defendant Christine M. Khandelwal, D.O., M.H.P.E., is

the President of the North Carolina Medical Board. Defendant Devdutta G. Sangvai, M.D.,

M.B.A., is the President-Elect of the North Carolina Medical Board. Defendant Anuradha

Rao-Patel, M.D. is the Secretary and Treasurer of the North Carolina Medical Board.

Defendants Candace A. Bradley, D.O., M.B.A.; William M. Brawley; W. Howard Hall,

M.D.; N. Melinda Hill-Price, M.D., J.D.; Sharona Y. Johnson, Ph.D., FNP-BC; Joshua D.

Malcolm, J.D.; Mark A. Newell, M.D., M.M.M.; Miguel A. Pineiro, PA-C, M.H.P.E.;

Robert Rich, Jr., M.D.; and David P. Sousa, J.D., M.B.A. (collectively and together with




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Defendants Mansfield, Khandelwal, Rao-Patel, and Sangvai, the “Medical Board

Defendants”) are members of the North Carolina Medical Board.

       20.    The North Carolina Medical Board (“Medical Board”) licenses physicians

and other health professionals. N.C. Gen. Stat. § 90-5.1 (2019). The Medical Board,

including its CEO and its members, is charged with placing health professionals on

probation and imposing sanctions for certain conduct, including suspending medical

licenses for providing gender-affirming medical care to minor patients, pursuant to the Ban.

N.C. Gen. Stat. § 90-21.153 (2023). The Medical Board Defendants are sued in their

official capacities.   The Medical Board Defendants are governmental actors and/or

employees acting under color of State law for purposes of 42 U.S.C. § 1983 and the

Fourteenth Amendment.

       21.    Defendant North Carolina Department of Health and Human Services

(“DHHS”) is the “single state agency” with direct responsibility for administration of the

state Medicaid plan (“NC Medicaid”). 42 U.S.C. § 1396a(a)(5); N.C. Gen. Stat. § 108A-

54 (2018).

       22.    NC Medicaid supports the health and wellbeing of more than 2.3 million

North Carolinians, nearly one in four people across the state, by providing critical health

insurance coverage for individuals and families with low income, as well as medically

fragile children, children adopted through foster care, and people with severe disabilities.

DHHS is a recipient of federal financial assistance.




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       23.    DHHS receives federal funding to support the NC Medicaid Program and

uses the funds it receives from the federal government in part to cover healthcare services

for persons enrolled in the NC Medicaid Program.             The state, through DHHS, is

“responsible for the nonfederal share of the costs of medical services provided under the

Program.” N.C. Gen. Stat. § 108A-54(a) (2018). However, under the Ban, “[n]o State

funds may be used, directly or indirectly, for the performance of or in furtherance of

surgical gender transition procedures, or to provide puberty-blocking drugs or cross-sex

hormones to a minor, or to support the administration of any governmental health plan or

government-offered insurance policy offering surgical gender transition procedures,

puberty-blocking drugs, or cross-sex hormones to a minor.” N.C. Gen. Stat. § 143C-6-

5.6(b) (2023). Thus, the Ban prohibits DHHS from administering Medicaid coverage for

gender-affirming medical care to minors.

       24.    Defendant Kody Kinsley is the Secretary of DHHS, which is the head of

DHHS. N.C. Gen. Stat. § 143B-139 (1997). In this capacity, Defendant Kinsley oversees

and directs all functions at DHHS, including its Medicaid operations. Defendant Kinsley

is responsible for ensuring that the operation of North Carolina’s Medicaid program

complies with both federal and state law, including any “parameters set by the General

Assembly.” N.C. Gen. Stat. § 108A-54(f) (2018). This includes the Ban’s requirement

that “[n]o State funds may be used, directly or indirectly” for purposes of gender transition-

related medical care. N.C. Gen. Stat. § 143C-6-5.6(b) (2023). Defendant Kinsley is sued




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in his official capacity. Defendant Kinsley is a governmental actor and/or employee acting

under color of State law for purposes of 42 U.S.C. § 1983 and the Fourteenth Amendment.

                                 JURISDICTION AND VENUE

        25.     This action arises under the U.S. Constitution, 42 U.S.C. § 1983, and 42

U.S.C. § 18116(a).

        26.     This Court has subject matter jurisdiction pursuant to Article III of the U.S.

Constitution and 28 U.S.C. §§ 1331, 1343.

        27.     This Court is authorized to issue a declaratory judgment pursuant to 28

U.S.C. §§ 2201 and 2202.

        28.     Venue in this district is proper pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to the claims have occurred and continue to occur

in this district.

                                   FACTUAL BACKGROUND

        A.      The Medicaid Act and North Carolina’s Medicaid Program

        29.         The Medicaid Act, Title XIX of the Social Security Act of 1965, 42 U.S.C.

§§ 1396-1396w-6, creates a joint federal-state program that provides health care services

to specified categories of low-income individuals.

        30.         Medicaid is designed to “enabl[e] each State, as far as practicable . . . to

furnish (1) medical assistance on behalf of families with dependent children and of aged,

blind, or disabled individuals, whose income and resources are insufficient to meet the

costs of necessary medical services, and (2) rehabilitation and other services to help such



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families and individuals attain or retain capability for independence or self-care . . . .” 42

U.S.C. § 1396-1.

       31.    States are not required to participate in the Medicaid program—but all states,

including North Carolina, do. See N.C. Gen. Stat. § 108A-54 (2018). States that choose to

participate must comply with the Medicaid Act and its implementing regulations. In return,

the federal government reimburses each participating state for a substantial portion of the

cost of providing medical assistance. See 42 U.S.C. §§ 1396b(a), 1396d(b), 1396(c); see

also Federal Financial Participation in State Assistance Expenditures; Federal Matching

Shares for Medicaid, the Children’s Health Insurance Program, and Aid to Needy Aged,

Blind, or Disabled Persons for October 1, 2023 Through September 30, 2024, 87 Fed. Reg.

74429, 74331 (Dec. 5, 2022) (setting the federal matching rate for North Carolina at

65.91%).

       32.    The Medicaid Act requires each participating state to designate a single state

agency charged with administering or supervising the state’s Medicaid program. 42 U.S.C.

§ 1396a(a)(5). In North Carolina, that agency is DHHS. See N.C. Gen. Stat. § 108A-54

(2018).

       33.    While a state may delegate certain responsibilities to other entities, such as

local agencies or Medicaid managed care plans, the single state agency is ultimately

responsible for ensuring compliance with all aspects of the Medicaid Act. See, e.g., 42

C.F.R. §§ 438.100(a)(2), 438.100(d).




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       34.    Each participating state must maintain a comprehensive state plan for

medical assistance, approved by the Secretary of the U.S. Department of Health and

Human Services. 42 U.S.C. § 1396a.

       35.    The state plan must describe how the state will administer its Medicaid

program and affirm the state’s commitment to comply with the Medicaid Act and its

implementing regulations. Id.

       36.    States must administer Medicaid in “the best interests of recipients.” Id.

§ 1396a(a)(19).

       37.    Under the Medicaid Act, a participating state must provide medical

assistance to certain eligibility groups. Id. § 1396a(a)(10)(A)(i). One such group is

children and adolescents under age 18 whose household income is below 133% of the

federal poverty level. Id. §§ 1396a(a)(10)(A)(i)(VI)-(VII), 1396a(l). Another mandatory

eligibility category is individuals with a disability who receive Supplemental Security

Income or meet separate disability and financial eligibility standards established by the

state. Id. §§ 1396a(a)(10)(A)(i)(II), 1396a(f). States have the option to cover additional

eligibility groups. Id. § 1396a(a)(10)(A)(ii).

       38.    The Medicaid Act requires each participating state to cover certain health

care services, including inpatient and outpatient hospital services and physician services,

when medically necessary. Id. §§ 1396a(a)(10)(A), 1396d. States have the option to cover

additional services, including prescription drugs, when medically necessary. Id.




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       39.      One mandatory benefit under Medicaid is Early and Periodic Screening,

Diagnostic, and Treatment (“EPSDT”) services for beneficiaries under age 21.               Id.

§§ 1396a(a)(10)(A), 1396a(a)(43), 1396d(a)(4)(B), 1396d(r).

       40.      The fundamental purpose of the EPSDT requirements is to “[a]ssure that

health problems found are diagnosed and treated early, before they become more complex

and their treatment more costly.” Ctrs. for Medicare & Medicaid Servs., State Medicaid

Manual § 5010.B.

       41.      Pursuant to the EPSDT requirements, states must cover four specific,

separate categories of screening services: medical, vision, dental, and hearing. 42 U.S.C.

§§ 1396a(a)(10)(A), 1396d(a)(4)(B), 1396d(r)(1)-(4).

       42.      States also must cover “[s]uch other necessary health care, diagnostic

services, treatment, and other measures described in [1396d(a)] to correct or ameliorate

defects and physical and mental illnesses and conditions discovered by the screening

services, whether or not such services are covered under the State plan.” Id. § 1396d(r)(5).

In other words, states participating in Medicaid must cover all medically necessary services

for beneficiaries under age 21, even when those services are not covered for adults.

       43.      Services that fall under 42 U.S.C. § 1396d(a) include inpatient and outpatient

hospital services, physician services, and prescription drugs. Id. §§ 1396d(a)(1), (2),

(5)(A), (12).

       44.      Gender-affirming    medical    treatments,   including    puberty    delaying

medication, hormone therapy, and surgery come within the services described in section



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1396d(a) and, thus, are EPSDT services when they are necessary to correct or ameliorate

gender dysphoria. Id. § 1396d(r)(5) (incorporating services listed in § 1396d(a)).

       45.    States must “arrang[e] for (directly or through referral to appropriate

agencies, organizations, or individuals) corrective treatment the need for which is disclosed

by” screening services. Id. § 1396a(a)(43)(C).

       46.    States must initiate EPSDT services in a timely manner, as appropriate to the

individual needs of the beneficiary, and no later than 6 months from the date of the request.

42 C.F.R. § 441.56(e).

       47.    DHHS contracts with private managed care plans to provide health care

services to most Medicaid beneficiaries.

       B.     Treatment Protocols for Adolescents with Gender Dysphoria

       48.    Doctors in North Carolina use evidence-based, well-researched, and widely

accepted clinical practice and medical guidelines to assess, diagnose, and treat adolescents

with gender dysphoria. Decades of clinical experience and a large body of research have

demonstrated that these treatments are safe and effective at treating gender dysphoria in

adolescents, and consequently inform how this care is provided.

       49.    Gender identity refers to a person’s core sense of belonging to a particular

gender, such as male or female. Every person has a gender identity.

       50.    Living in a manner consistent with one’s gender identity is critical to the

health and well-being of any person, including transgender people.




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       51.    Although the precise origin of gender identity is unknown, a person’s gender

identity is a fundamental aspect of human development. There is a general medical

consensus that there are significant biological roots to gender identity.

       52.    A person’s gender identity cannot be altered voluntarily or changed through

medical intervention.

       53.    A person’s gender identity usually matches the sex they were designated at

birth based on the appearance of their external genitalia. The terms “sex designated at

birth” or “sex assigned at birth” are more precise than the term “biological sex” because

the physiological aspects of a person’s sex are not always aligned with each other. For

example, some people with intersex characteristics may have a chromosomal configuration

typically associated with a male sex designation but genital characteristics typically

associated with a female sex designation. For these reasons, the Endocrine Society, an

international medical organization representing over 18,000 endocrinology researchers and

clinicians, warns practitioners that the terms “biological sex” and “biological male or

female” are imprecise and should be avoided. 3

       54.    Most boys are designated male at birth based on their external genital

anatomy, and most girls are designated female at birth based on their external genital

anatomy. But transgender people have a gender identity that differs from the sex they were



3
    Wylie C. Hembree et al., Endocrine Treatment of Gender-Dysphoric/Gender-
    Incongruent Persons: An Endocrine Society Clinical Practice Guideline, 102 J. Clinical
    Endocrinology and Metabolism 3869, 3875 tbl. 1 (2017), available at
    https://academic.oup.com/jcem/article/102/11/3869/4157558.

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designated at birth. A transgender boy or man is someone who has a male gender identity

but was designated a female sex at birth. A transgender girl or woman is someone who has

a female gender identity but was designated a male sex at birth.

       55.     The health and wellbeing of all people, including those who are transgender,

depends on their ability to live in a manner consistent with their gender identity. For

transgender people, the incongruence between their gender identity and sex assigned at

birth can cause clinically significant distress or impairment in functioning.

       56.     Gender dysphoria is the clinical diagnosis for the significant distress or

functional impairment that results from the incongruity between one’s gender identity and

the sex they were designated at birth. It is a serious medical condition, and it is codified in

the American Psychiatric Association’s Diagnostic and Statistical Manual of Mental

Disorders, Fifth Edition, Text Revision (“DSM-5-TR”) (DSM-5 was released in 2013, and

DSM-5-TR was released in 2022).

       57.     Similarly, this medical condition is recognized in the World Health

Organization’s International Classification of Diseases, 11th Revision, which codifies the

diagnosis of Gender Incongruence.

       58.     According to the DSM-5-TR, to be diagnosed with gender dysphoria, the

incongruence must have persisted for at least six months and be accompanied by clinically

significant distress or impairment in social, occupational, or other important areas of

functioning.




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       59.    Being transgender is not itself a medical condition to be cured. But gender

dysphoria is a serious medical condition that, if left untreated, can result in negative mental

health outcomes including debilitating anxiety, severe depression, post-traumatic stress

disorder, eating disorders, substance abuse, self-harm, and suicide.

       60.    The World Professional Association for Transgender Health (“WPATH”)

and the Endocrine Society have published evidence-based and widely accepted clinical

practice guidelines for the assessment, diagnosis, and treatment of gender dysphoria.

       61.    The medical treatment for gender dysphoria seeks to eliminate or alleviate

the clinically significant distress by helping a transgender person live in alignment with

their gender identity. This treatment is sometimes referred to as “gender transition,”

“transition-related care,” or “gender-affirming care.”

       62.    WPATH has issued Standards of Care for the Health of Transgender and

Gender Diverse People (“WPATH Standards of Care”) since 1979. The current version is

Standards of Care for the Health of Transgender and Gender Diverse People, Version 8

(“SOC 8”), published in 2022. 4

       63.    The WPATH Standards of Care provide guidelines for multidisciplinary care

of transgender individuals, including children and adolescents, and describe criteria for

medical interventions to treat gender dysphoria—including puberty-delaying medication,

hormone treatment, and surgery when medically indicated—for adolescents and adults.


4
    E. Coleman, et al., Standards of Care for the Health of Transgender and Gender
    Diverse People, Version 8, 23 Int’l J. of Transgender Health S1, S1–S258 (2022),
    available at https://www.tandfonline.com/doi/pdf/10.1080/26895269. 2022.2100644.

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       64.       Every major medical organization in the United States recognizes that these

treatments can be medically necessary to treat gender dysphoria.

       65.       The SOC 8 is based upon a rigorous, methodological, and evidence-based

approach. Its recommendations are informed by a systematic review of evidence and an

assessment of the benefits and harms of alternative care options, as well as expert

consensus. The SOC 8 incorporates recommendations on clinical practice guideline

development from the National Academy of Medicine and the World Health Organization.

SOC 8’s recommendations were graded using a modified GRADE (Grading of

Recommendations, Assessment, Development, and Evaluations) methodology considering

the available evidence supporting interventions, risks and harms, and feasibility and

acceptability.

       66.       A clinical practice guideline from the Endocrine Society (the “Endocrine

Society Guideline”) provides protocols for the medically necessary treatment of gender

dysphoria similar to those outlined in the WPATH Standards of Care.

       67.       The guidelines for the treatment of gender dysphoria outlined in the WPATH

Standards of Care and in the Endocrine Society Guideline are comparable to guidelines

that medical providers use to treat other conditions. These clinical practice guidelines are

widely accepted as best practices for the treatment of adolescents and adults diagnosed

with gender dysphoria and have been recognized as authoritative by leading medical

organizations, including the American Academy of Pediatrics, which agrees that this care




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    Case 1:23-cv-00864-LCB-LPA Document 70-1 Filed 03/15/24 Page 20 of 68
is safe, effective, and medically necessary for many adolescents suffering from gender

dysphoria.

       68.    Doctors in North Carolina and throughout the country follow these widely

accepted guidelines to diagnose and treat people with gender dysphoria.

       69.    Medical guidance for clinicians differs depending on whether care is being

provided to a pre-pubertal child, an adolescent, or an adult. Before the onset of puberty,

consistent with the WPATH Standards of Care and the Endocrine Society Guideline, the

only healthcare that is recommended and provided is mental health counseling. In other

words, gender-affirming care does not include any pharmaceutical or surgical intervention

before puberty. Any transition before puberty is limited to “social transition,” which means

supporting a transgender child to live and be socially recognized in accordance with the

child’s persistently expressed gender identity. Such care might include support around

adopting a new name and pronouns, wearing clothes that feel more appropriate to a

particular gender, changing one’s hairstyle, and using restrooms and other sex-separated

facilities aligned with their gender identity instead of the sex assigned to them at birth.

       70.    Under SOC 8 and the Endocrine Society Guideline, medical interventions

may become medically necessary and appropriate as transgender youth reach puberty. In

all cases, the precise treatment recommended for gender dysphoria will depend upon each

person’s individualized needs. In providing medical treatments to adolescents, pediatric

endocrinologists and other clinicians work with qualified mental health professionals

experienced in diagnosing and treating gender dysphoria.



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             1.     Puberty-Delaying Treatment

      71.    For many transgender adolescents, going through puberty in accordance with

their sex designated at birth causes extreme distress. For these adolescents, puberty-

delaying medication—known as gonadotropin-releasing hormone (“GnRH”) agonists—

can minimize and potentially prevent the heightened gender dysphoria and permanent,

unwanted physical changes that puberty would cause.

      72.    Under the Endocrine Society Guideline, transgender adolescents who have

reached the onset of puberty may be eligible for puberty-delaying treatment if:

      • A qualified [mental health professional] has confirmed that:

             o the adolescent has demonstrated a long-lasting and intense pattern of
               gender nonconformity or gender dysphoria (whether suppressed or
               expressed),

             o gender dysphoria worsened with the onset of puberty,

             o any coexisting psychological, medical, or social problems that could
               interfere with treatment (e.g., that may compromise treatment
               adherence) have been addressed, such that the adolescent’s situation and
               functioning are stable enough to start treatment,

             o the adolescent has sufficient mental capacity to give informed consent
               to this (reversible) treatment,

      • And the adolescent:

             o has been informed of the effects and side effects of treatment (including
               potential loss of fertility if the individual subsequently continues with
               sex hormone treatment) and options to preserve fertility,

             o has given informed consent and (particularly when the adolescent has
               not reached the age of legal medical consent, depending on applicable
               legislation) the parents or other caretakers or guardians have consented
               to the treatment and are involved in supporting the adolescent
               throughout the treatment process,


                                            22

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       • And a pediatric endocrinologist or other clinician experienced in pubertal
         assessment:

              o agrees with the indication for GnRH agonist treatment,

              o has confirmed that puberty has started in the adolescent, . . .

              o has confirmed that there are no medical contraindications to GnRH
                agonist treatment. 5

       73.    Similarly, the WPATH Standards of Care recommend that health

professionals, including physicians and other health care providers assessing transgender

adolescents, only recommend the provision of puberty-delaying medications as treatment

when: (a) the adolescent meets the necessary diagnostic criteria; (b) the experience of

gender incongruence is marked and sustained over time; (c) the adolescent demonstrates

the emotional and cognitive maturity required to provide informed consent/assent for the

treatment; (d) the adolescent’s mental health concerns (if any) that may interfere with

diagnostic clarity, capacity to consent, and treatment have been addressed; (e) the

adolescent has been informed of the reproductive effects, including effects on fertility, and

these have been discussed in the context of the adolescent’s stage of pubertal development;

and (f) the adolescent has reached Tanner stage 2 of puberty. 6 The SOC 8 further

recommends that health professionals, including physicians and other health care

providers, working with transgender adolescents “undertake a comprehensive




5
    Endocrine Society Guideline at 3878 tbl. 5.
6
    SOC 8 at S48.

                                             23

    Case 1:23-cv-00864-LCB-LPA Document 70-1 Filed 03/15/24 Page 23 of 68
biopsychosocial assessment of adolescents” prior to initiating any medical treatment, and

“that this be accomplished in a collaborative and supportive manner.” 7

       74.    Puberty-delaying treatment is safe and effective for the treatment of gender

dysphoria in adolescents.

       75.    Puberty-delaying treatment works by pausing a person’s endogenous puberty

at the stage of pubertal development that the person has reached at the time of treatment.

For transgender girls, this treatment pauses the physiological changes typical of male

puberty and prevents the development of associated secondary sex characteristics like

facial hair and a pronounced “Adam’s apple.” It also prevents the deepening of the young

person’s voice and genital growth. For transgender boys, puberty-delaying treatment

prevents the development of breasts and menstruation. The use of these interventions soon

after the onset of puberty can eliminate or reduce the need for surgery later in life. If

gender-affirming hormones are prescribed to initiate hormonal puberty consistent with

gender identity after puberty-delaying treatment, transgender adolescents will develop

secondary sex characteristics typical of peers with their gender identity.

       76.    On its own, puberty-delaying treatment does not permanently affect fertility.

       77.    Because puberty-delaying treatment followed by gender-affirming hormone

therapy can affect fertility, patients are counseled about the risks and benefits of treatment

and provided information about fertility preservation.




7
    Id. at S50–S51.

                                             24

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       78.     Puberty-delaying treatment is reversible. If puberty-delaying treatment is

stopped and no gender-affirming hormone therapy is provided, there are no lasting effects

of the treatment. Endogenous puberty resumes and patients undergo puberty in a timeline

typical of their peers.

       79.     If gender-affirming hormone treatment is provided after puberty-delaying

treatment, patients undergo puberty consistent with their gender identity on a timeline

typical of their peers.

               2.     Hormone Therapy

       80.     For some adolescents, it may be medically necessary and appropriate to treat

their gender dysphoria with gender-affirming hormone therapy (testosterone for

transgender boys, and testosterone suppression and estrogen for transgender girls).

       81.     Under the Endocrine Society Guideline, transgender adolescents may be

eligible for gender-affirming hormone therapy if:

       • A qualified [mental health professional] has confirmed:

               o the persistence of gender dysphoria,

               o any coexisting psychological, medical, or social problems that could
                 interfere with treatment (e.g., that may compromise treatment
                 adherence) have been addressed, such that the adolescent’s situation and
                 functioning are stable enough to start sex hormone treatment,

               o the adolescent has sufficient mental capacity . . . to estimate the
                 consequences of this (partly) irreversible treatment, weigh the benefits
                 and risks, and give informed consent to this (partly) irreversible
                 treatment,

       • And the adolescent:



                                            25

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              o has been informed of the [partly] . . . irreversible . . . effects and side
                effects of treatment (including potential loss of fertility and options to
                preserve fertility),

              o has given informed consent and (particularly when the adolescent has
                not reached the age of legal medical consent, depending on applicable
                legislation) the parents or other caretakers or guardians have consented
                to the treatment and are involved in supporting the adolescent
                throughout the treatment process,

       • And a pediatric endocrinologist or other clinician experienced in pubertal
         induction:

              o agrees with the indication for sex hormone treatment,

              o has confirmed that there are no medical contraindications to sex
                hormone treatment. 8

       82.    As with puberty-delaying medications, the WPATH Standards of Care

recommend that health professionals, including physicians and other health care providers,

assessing transgender adolescents only recommend the provision of gender-affirming

hormones as treatment when: (a) the adolescent meets the necessary diagnostic criteria; (b)

the experience of gender incongruence is marked and sustained over time; (c) the

adolescent demonstrates the emotional and cognitive maturity required to provide informed

consent/assent for the treatment; (d) the adolescent’s mental health concerns (if any) that

may interfere with diagnostic clarity, capacity to consent, and treatment have been

addressed; and (e) the adolescent has been informed of the reproductive effects, including

the potential loss of fertility and the available options to preserve fertility, and these have

been discussed in the context of the adolescent’s stage of pubertal development. 9 Again,


8
    Endocrine Society Guideline at 3878 tbl. 5.
9
    SOC 8 at S48.

                                              26

    Case 1:23-cv-00864-LCB-LPA Document 70-1 Filed 03/15/24 Page 26 of 68
a comprehensive biopsychosocial assessment of the adolescent prior to initiating any

medical treatment is recommended. 10

        83.    For transgender boys, hormone therapy involves treatment with testosterone

and for transgender girls, treatment with testosterone suppression and estrogen.

        84.    Through decades of clinical experience and research, gender-affirming

hormone therapy has been shown to be safe and effective at treating gender dysphoria in

adolescents.

        85.    Side effects from gender-affirming hormone therapy are rare when treatment

is provided under clinical supervision.

        86.    Gender-affirming hormone therapy does not necessarily result in a loss of

fertility, and many individuals treated with hormone therapy can still conceive and produce

children.

        87.    As with all medications that could affect fertility, transgender adolescents

and their parents or guardians are counseled on the potential risks of the medical

intervention, and the treatment is only initiated where parents and adolescents are properly

informed and consent/assent to the care.

        88.    Adolescents who first receive treatment later in puberty and are treated only

with gender-affirming hormone therapy (and not puberty-delaying treatment) also go

through a hormonal puberty consistent with their gender identity. However, they will have




10
     Id. at S50–S51.

                                             27

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undergone physical changes associated with their endogenous puberty that may not be

wholly reversed by hormone therapy or even surgery later in life.

                   3.    Surgery

        89.        Under the WPATH Standards of Care, transgender adolescents also may

receive medically necessary chest reconstructive surgeries before the age of majority. Such

surgeries are rare and require that the adolescent has lived in their affirmed gender for a

significant period of time. 11

        90.        Medical treatment recommended for and provided to transgender adolescents

with gender dysphoria can substantially reduce lifelong gender dysphoria and eliminate the

medical need for surgery or other medical interventions later in life.

        91.        Providing gender-affirming medical care can be lifesaving treatment and

positively change the short- and long-term health outcomes for transgender adolescents.

        92.        Puberty-delaying medications and gender-affirming hormones are prescribed

only after a comprehensive psychosocial assessment by a qualified health professional

who: (i) assesses for the diagnosis of gender dysphoria and any other co-occurring

diagnoses; (ii) ensures the child can assent, and the parents/guardians can consent to the

relevant intervention after a thorough review of the risks, benefits, and alternatives of the

intervention; and (iii) ensures that, if co-occurring mental health conditions are present,

they do not interfere with the accuracy of the diagnosis of gender dysphoria or impair the

ability of the adolescent to assent to care.


11
     Id. at S66.

                                               28

     Case 1:23-cv-00864-LCB-LPA Document 70-1 Filed 03/15/24 Page 28 of 68
       C.     The Banned Treatment Is Permitted for Other Purposes.

       93.    The Health Care Ban prohibits the use of well-established treatments for

gender dysphoria in transgender adolescents—including puberty-delaying treatment,

hormone therapy, and chest surgery—but the Ban allows these same treatments for other

purposes.

       94.    For instance, puberty-delaying medication is commonly used to treat central

precocious puberty. Central precocious puberty is the premature initiation of puberty by

the central nervous system—before 8 years of age in people designated female at birth and

before 9 years of age in people designated male. When untreated, central precocious

puberty can lead to the impairment of final adult height, as well as antisocial behavior and

lower academic achievement. The Ban permits puberty-delaying treatment for central

precocious puberty because it is not provided “for the purpose of effecting a gender

transition.” N.C. Gen. Stat. § 90-21.150(11) (2023).

       95.    Likewise, the Ban prohibits hormone therapy when the treatment is used to

treat transgender adolescents with gender dysphoria but allows that same hormone therapy

when prescribed to non-transgender patients. For example, non-transgender boys with

delayed puberty may be prescribed testosterone if they have not begun puberty by 14 years

of age. Without testosterone, for most of these patients, puberty would eventually initiate

naturally. However, testosterone is prescribed to avoid some of the social stigma that

comes from undergoing puberty later than one’s peers and failing to develop the secondary

sex characteristics consistent with their gender at the same time as their peers. Likewise,



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non-transgender    girls     with   primary   ovarian   insufficiency,   hypogonadotropic

hypogonadism (delayed puberty due to lack of estrogen caused by a problem with the

pituitary gland or hypothalamus), or Turner’s Syndrome (a chromosomal condition that

can cause a failure of ovaries to develop) may be treated with estrogen. Moreover, non-

transgender girls with polycystic ovarian syndrome (a condition that can cause increased

testosterone and, as a result, symptoms including facial hair) may be treated with

testosterone suppressants.

       96.    The side effects of the proscribed treatments are comparable when used to

treat gender dysphoria and when used to treat other conditions. The use of these treatments

for gender dysphoria is not any riskier than for other conditions and diagnoses for which

the same treatments are regularly used. In each circumstance, doctors advise patients and

their parents about the risks and benefits of treatment and tailor recommendations to the

individual patient’s needs. For adolescents, parents must consent to treatment, and the

patient must give their assent. Treatment cannot be administered without agreement from

doctors, parents, and the transgender adolescent.

       D.     The General Assembly’s Enactment of the Health Care Ban.

       97.    On June 28, 2023, the North Carolina General Assembly passed the Health

Care Ban. The bill, which was ratified the next day, was vetoed by the governor on July

5, 2023, and the General Assembly overrode the veto on August 16, 2023.

       98.    The Ban makes it unlawful for a medical professional to “prescribe, provide,

or dispense puberty-blocking drugs or cross-sex hormones to a minor” for the purpose of



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“gender transition,” or to “perform a surgical gender transition procedure on a minor.”

N.C. Gen. Stat. § 90-21.151 (2023).

       99.    The Ban defines “gender transition” as “[t]he process in which a person goes

from identifying with and living as a gender that corresponds to his or her biological sex

to identifying with and living as a gender different from his or her biological sex,” which

“may involve social, legal, or physical changes.” N.C. Gen. Stat. § 90-21.150(5) (2023).

The Ban further defines “biological sex” as “[t]he biological indication of male and female

in the context of reproductive potential or capacity, such as sex chromosomes, naturally

occurring sex hormones, gonads, and nonambiguous internal and external genitalia present

at birth, without regard to an individual’s psychological, chosen, or subjective experience

of gender.” Id. at (1).

       100.   The Ban exempts the same care above for purposes of “continuing or

completing a course of treatment for a minor,” so long as all three of the following

requirements are met: “(1) [t]he course of treatment commenced prior to August 1, 2023,

and was still active as of that date”; “(2) [i]n the reasonable medical judgment of the

medical professional, it is in the best interest of the minor for the course of treatment to be

continued or completed”; and “(3) [t]he minor’s parents or guardians consent to the

continuation or completion of treatment.” N.C. Gen. Stat. § 90-21.152(b) (2023).

       101.   But apart from those circumstances, the Ban does not allow medical

professionals to initiate a new course of treatment for a minor that includes the




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administration of puberty-blocking or cross-sex hormones for the purpose of gender

transition or a surgical gender transition procedure. See id.

        102.   The Ban also imposes draconian penalties on medical professionals who

provide these critically important healthcare services. First, the Ban would revoke the

medical license of any professional who provides gender-affirming care by providing that

“[a] violation of any of the provisions of this Article by a medical professional shall be

considered unprofessional conduct and shall result in the revocation of the medical

professional’s license to practice.” N.C. Gen. Stat. § 90-21.153 (2023) (emphases added).

        103.   Finally, the Ban also prohibits any state funds (including state Medicaid

funding) from being used “directly or indirectly,” to “provide puberty-blocking drugs or

cross-sex hormones to a minor” for the purpose of “gender transition,” “in furtherance of

surgical gender transition procedures,” “or to support the administration of any

governmental health plan or government-offered insurance policy offering surgical gender

transition procedures, puberty-blocking drugs, or cross-sex hormones to a minor.” N.C.

Gen. Stat. § 143C-6-5.6(b) (2023). 12




12
     The Ban has a carve-out from subsection (b) for “the State Health Plan for Teachers
     and State Employees.” Id. at (c). This carve-out is presumably due to the permanent
     injunction granted by Mem. Op. & Order, Kadel v. Folwell, No. 1:19-cv-272 (M.D.N.C.
     June 10, 2022), ECF No. 234, where the court enjoined the enforcement of an exclusion
     in the State Health Plan for Teachers and State Employees for treatments “leading to or
     in connection with sex changes or modifications,” after finding that this exclusion
     discriminates based on sex and transgender status in violation of the Equal Protection
     Clause, and that it discriminates because of sex in violation of Title VII. That ruling is
     currently on appeal in the Fourth Circuit (Case No. 22-1721).

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        104.   At various points, legislative committees either refused to hear the concerns

of parents and adolescents opposing the bill or passed the bill despite receiving testimony

and information about the bill’s defiance of the medical consensus regarding treatment of

gender dysphoria within the standards of care.

        105.   For example, the House Health Committee passed the bill without questions

or debate.     The House Health Committee held no public comment, to the extreme

disappointment of many in attendance who drove to Raleigh from all corners of the state

to speak in opposition to the bill. Opponents showed up in such volume that there was not

enough room in the committee room for all who tried to attend—although the Committee

refused to hear from any of them. 13

        106.   The General Assembly passed the Ban despite an open letter from hundreds

of health care professionals about the lifesaving benefits of the banned care for their

patients and the grave harm to their patients’ health and well-being if they are prohibited

from receiving this care. 14 The letter warned that not only would the legislation ban

potentially life-saving care and represent an extreme intrusion into the patient-provider



13
     Rachel Crumpler, House Health Committee, disallows public comment, passes
     restrictions on gender-affirming surgeries for youth without debate, NC Health News
     (May 3, 2023), https://www.northcarolinahealthnews.org/2023/05/03/house-health-
     committee-disallows-public-comment-passes-restrictions-on-gender-affirming-
     surgeries-for-youth-without-debate/.
14
     Id. (“More than 660 health care professionals across the state have signed an open letter
     opposing North Carolina legislation aimed at restricting gender-affirming care.”); Open
     Letter from North Carolina Health Care Professionals to the North Carolina General
     Assembly, available at https://docs.google.com/document/d/1bN8yqn7Ao5N-
     riZaD3xELuIQgkEqR4ZtWqIhBZ74y88/edit.

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relationship, but it would also discourage talented providers from remaining in the state

and providing all manner of healthcare within North Carolina.

       107.   The General Assembly passed the Ban despite hearing testimony from

transgender North Carolinians who shared their experiences of years of struggle, feelings

of hopelessness, and desires to end their lives prior to receiving gender-affirming care, and

the positive and transformational impact that gender-affirming medical treatment had on

their health and overall well-being.

       108.   The General Assembly also passed the Ban despite hearing testimony of

parents of transgender children with gender dysphoria, who pleaded with lawmakers not to

risk their children’s health by stripping them of the medical care that enables them to thrive.

Parents spoke about the torment of worrying that their child would be at risk for dying by

suicide without access to gender-affirming treatment and about the relief that comes from

watching their child’s despair lessen with gender-affirming treatment.

       109.   Comments from the Ban’s primary sponsors in discussing the Ban showed a

marked anti-transgender animus, as well as disregard for the well-established, evidence-

based protocols and practices for the treatment of gender dysphoria.

       110.   For example, Representative Ken Fontenot (one of the Ban’s primary

sponsors), published an op-ed on June 14, 2023 in which he compared gender-affirming

medical care to Tuskegee medical experiments done in the 1920s and the sterilization of




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    Case 1:23-cv-00864-LCB-LPA Document 70-1 Filed 03/15/24 Page 34 of 68
poor Black women in North Carolina in the 1960s. 15 He also compared gender-affirming

medical care to discredited treatments like lobotomies and shock therapy. 16

        111.   During floor debates, Representative Fontenot also referred to gender-

affirming care as “experimental”—a position with which professional medical associations

uniformly disagree, as further detailed below—and described them as “atrocities.” He also

said that he is “against children being preyed upon”—implying that medical professionals

who provide this important healthcare treatment to minors are predators.

        112.   Other legislators were highly dismissive of being transgender, with Senator

Newton referring to it as a “fad” and Representative Fontenot touting a wholly debunked

theory that being transgender is the product of “social contagion.”

        113.   Representative Hugh Blackwell (another primary sponsor of the Ban) was

equally dismissive of the extensive scientific support for gender dysphoria treatment by

comparing gender dysphoria care to getting a “tattoo” or “body piercing.”

        114.   The Health Care Ban was just one piece of a discriminatory legislative

agenda targeting transgender persons that the General Assembly passed in the same

session. H.B. 574 (the so-called “Fairness in Women’s Sports Act”) prohibits transgender


15
     See Ken Fontenot, We’ve been here before on ‘compassionate’ experimental medical
     treatments, The Carolina Journal (June 14, 2023), https://www.carolinajournal.com/o
     pinion/weve-been-here-before-on-compassionate-experimental-medical-treatments/.
16
     See Laura Leslie, Ban on gender-affirming care for transgender minors in NC heads to
     Gov. Cooper’s desk, WRAL (June 28, 2023), https://www.wral.com/story/ban-on-
     gender-affirming-care-for-transgender-minors-in-nc-heads-to-gov-cooper-s-
     desk/20932217/ (“‘In the 50s and 60s, we also agreed with frontal lobotomies, and the
     atrocities that caused. At the same time, we agreed with shock therapy and the atrocities
     that caused,’ Fontenot said.”).

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girls from playing on middle school, high school, and college sports teams designated for

girls. S.B. 49 (the so-called “Parents’ Bill of Rights”) requires public school teachers to

alert parents before they call a student by a different name or pronoun and prohibits

instruction about gender identity and sexuality in K-4 classrooms, with an exception for

student-initiated questions. Although Governor Cooper vetoed each of these bills, the

General Assembly overrode the vetoes on August 16, 2023—the same day it overrode the

veto of the Health Care Ban. Indeed, the General Assembly moved these bills as a package

and as part of a purposeful agenda to restrict the rights of transgender people in North

Carolina.

       115.   These legislative enactments are but mere exemplars of the long history of

discrimination that transgender people have faced, and continue to face, in North Carolina

and throughout the country. Notwithstanding that a person’s transgender status has no

bearing on the person’s ability to contribute to society, transgender people are often the

target of discrimination and discriminatory laws.

       E.     There Are No Legitimate Justifications for the Health Care Ban.

       116.   During floor debates, the Ban’s sponsors (Representatives Fontenot and

Blackwell) claimed that the Ban was supposedly necessary to protect minors from being

“preyed upon” and from “experimental” treatment akin to lobotomies or shock therapy.

       117.   To start, these purported concerns do not justify prohibiting medical

treatments (like prescribing puberty-delaying medications) only when they are used to




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provide gender-affirming care to treat transgender adolescents, when the Ban still permits

those same treatments for purposes other than gender dysphoria treatment.

       118.   Moreover, the treatment at issue is not “experimental”—rather, the safety

and efficacy of this care is supported by decades of research and clinical evidence. Indeed,

the body of research that supports the safety and efficacy of the banned care is comparable

to the research supporting many other treatments, but only gender-affirming medical care

for adolescents is targeted by the Ban.

       119.   Even if the banned treatments were “experimental in nature” (which they are

not), experimental treatments are permitted in North Carolina and are not banned. Wrongly

labeling gender-affirming medical care as “experimental” cannot justify categorically

banning only this one form of allegedly “experimental” treatment.

       120.   Any purported interest in protecting minors from potential physical and

emotional risks associated with the medical treatment at issue likewise cannot justify the

Ban. The majority of potential risks and side effects related to puberty-delaying treatment,

hormone therapy, and chest surgeries for gender dysphoria are comparable to those risks

and side effects when such treatments are used for other indications. But the Ban does not

target other forms of medical care that have similar risks (such as other treatments that

carry fertility risks), further indicating that the point of the Ban is not to protect minors

from these risks but to discriminate on the basis of sex and transgender status.

       121.   Indeed, every medical intervention carries potential risks and potential

benefits. Weighing the potential benefits and risks of the treatment for gender dysphoria



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is a prudential judgment similar to other judgments made by healthcare providers,

adolescent patients, and their parents. Adolescent patients and their parents often make

decisions about treatments with less evidence and/or greater risks than the treatments

prohibited by the Ban.

        122.   The current clinical practice guidelines for treating gender dysphoria in

minors are consistent with general ethical principles of informed consent. Existing clinical

practice guidelines for providers extensively discuss the potential benefits, risks, and

alternatives to treatment, and providers’ recommendations regarding the timing of

interventions are based in part on the treatment’s potential risks and the adolescent’s

decision-making capacity. In fact, in vetoing the Ban on July 5, Governor Cooper

recognized that the treatments at issue are not experimental and that they instead reflect

“approved medical protocols.” 17

        123.   In short, there is nothing unique about any of the medically accepted

treatments for adolescents with gender dysphoria that justify singling out these treatments

for prohibition based on a concern about adolescents’ inability to assent or their parents’

inability to consent to the care.

        124.   The Health Care Ban subjects medical care for transgender adolescents with

gender dysphoria to a double standard. The law singles out such care for sweeping




17
     See Roy Cooper, Governor Roy Cooper Objections and Veto Message (July 5, 2023),
     https://webservices.ncleg.gov/ViewBillDocument/2023/6811/0/H808-BD-NBC-
     11125.

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prohibitions while permitting the same medical treatments carrying the same potential risks

when prescribed to treat non-transgender patients for any other purpose.

        F.      The Health Care Ban Will Cause Severe Harm to Transgender Youth.

        125.    Withholding gender-affirming medical treatment from adolescents with

gender dysphoria when it is medically indicated puts them at risk of severe irreversible

harm to their health and well-being.

        126.    Adolescents with untreated gender dysphoria can suffer serious medical

consequences, including possible self-harm and suicidal ideation. In one survey, more than

half of transgender youth who participated had seriously contemplated suicide. 18 Studies

have found that as many as 40% of transgender people have attempted suicide at some

point in their lives. 19

        127.    When adolescents have access to puberty-delaying medication and hormone

therapy, which prevents them from going through endogenous puberty and allows them to

go through puberty consistent with their gender identity, their dysphoria decreases, and

their mental health improves. Both clinical experience and multiple medical and scientific

studies confirm that for many young people, this treatment is not only safe and effective,

but it is positively transformative. Indeed, transgender adolescents able to access this


18
     Trevor Project, National Survey on LGBTQ Youth Mental Health 2022 at 6 (2022),
     available at     https://www.thetrevorproject.org/survey-2022/assets/static/trevor01_
     2022survey_final.pdf (59 percent of transgender boys, 48 percent of transgender girls,
     and 53 percent of nonbinary youth considered suicide in the past year.).
19
     Sandy E. James et al., Nat’l Ctr. for Transgender Equal., Report of the 2015 U.S.
     Transgender Survey 5 (2016), available at https://transequality.org/sites/default/files/
     docs/usts/USTS-Full-Report-Dec17.pdf.

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medically necessary and evidence-based medical care often go from painful suffering to

becoming thriving young persons.

       128.   If patients are not able to start puberty-delaying drugs or hormone therapy

due to the Ban, patients will be forced to experience their endogenous puberty. This will

result in extreme distress for patients who would rely on medical treatments to prevent the

secondary sex characteristics that come with their endogenous puberty. These bodily

changes are extremely distressing for transgender adolescents with gender dysphoria that

otherwise would have been relieved by medical treatment.

      129.    The effects of undergoing one’s endogenous puberty may not be reversible,

even with subsequent hormone therapy and surgery in adulthood, thus exacerbating

lifelong gender dysphoria in adolescent patients who are unable to access gender-affirming

medical care. For instance, bodily changes from puberty as to stature, bone structure,

genital growth, voice, and breast development can be impossible or more difficult to

counteract.

       130.   Laws like the Ban that prohibit access to medically necessary health care in

and of themselves gravely and directly threaten the mental health and physical wellbeing

of transgender adolescents in North Carolina.

       131.   Medical treatment in adolescence can reduce life-long gender dysphoria,

possibly eliminating the need for surgical intervention in adulthood, and can improve

mental health outcomes significantly.




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       132.   Gender-affirming medical care can be a beneficial and lifesaving treatment

for transgender minors experiencing gender dysphoria. The major medical and mental

health associations support the provision of such care and recognize that the mental and

physical health benefits to receiving this care outweigh the risks.

       133.   These associations include the American Academy of Pediatrics, the

American Medical Association, the Endocrine Society, the Pediatric Endocrine Society,

the American Psychological Association, the American Academy of Family Physicians,

the American College of Obstetricians and Gynecologists, the National Association of

Social Workers, and WPATH.

       G.     The Impact of the Health Care Ban on Plaintiffs.

       134.   The Voe Family: Vanessa Voe and Vance Voe are parents to Victor Voe,

their ten-year-old son, and a six-year-old daughter. Vanessa and Vance have called North

Carolina home for over nine years. Vance was born in North Carolina, and Vanessa

attended graduate school and is licensed to practice health care in North Carolina. Over

the past nine years, Vanessa and Vance have formed a community of family and friends

who are close enough to claim as unofficial family members in the state they call home.

       135.   Victor is a smart, curious, and kind child. He loves video games, he is

passionate about music, and he hopes to be a marine biologist when he grows up.

       136.   Victor is transgender. Although Victor was assigned female at birth, at a

very young age, Victor expressed to Vanessa and Vance that his gender identity is not

female. At three years old, Victor asked Vanessa and Vance if they could stop using “she”



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and “her” pronouns for him. In the winter of 2019, at five years old, Victor let Vanessa

and Vance know that he is a boy and that he would like to go by “he” and “him” pronouns.

       137.   Vanessa and Vance were not surprised to learn that Victor is transgender.

Victor would become visibly upset when people referred to him using “she” and “her,” and

would say that he did not feel seen.

       138.   When Vanessa and Vance began using “he” and “him” pronouns for Victor,

he was visibly excited that they were doing so. Over the next few months, they kept

checking in with him to see how those pronouns felt, and he kept affirming that they should

continue using them.

       139.   Victor began wearing boy’s clothes, got a short haircut, and made friends

with mostly boys in his class. For months, he asked Vanessa and Vance to buy him boxer

briefs, and when they finally bought them for him, he was overjoyed and beaming.

       140.   Victor has been seeing a mental health provider since May of 2021, who

evaluated him for and diagnosed him with gender dysphoria. Victor continues to see that

provider once a month.

       141.   At the start of 2023, as Victor appeared to show signs of puberty, Vanessa

and Vance took him to see a doctor who specializes in working with transgender people,

and they recommended that Victor visit the gender clinic at Duke University to discuss

options for care, which was the same recommendation made by his therapist.

       142.   In March of 2023, Vanessa, Vance, and Victor had an appointment with a

team of providers at Duke Child and Adolescent Gender Care Clinic. The clinic conducted



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blood work to monitor Victor’s hormone levels, and sought a scan to monitor Victor’s bone

age. At that appointment, the doctor informed Vanessa and Vance that based on a physical

exam, Victor was showing early signs of puberty. Vanessa and Vance had the opportunity

to ask questions about puberty-delaying treatment, and to learn about how it would impact

Victor’s body and the various associated risks. The doctor told Vanessa and Vance that

Victor needs to be monitored closely as it is possible that he will need to start treatment

once he exhibits further signs of puberty. After their appointment, Vanessa received a

follow-up call from the Duke clinic letting her know that, based on Victor’s lab results,

Victor’s puberty had not begun and he was not ready to start treatment.

       143.   In August 2023, the clinic informed Vanessa that they will not be able to

prescribe puberty-delaying treatment to Victor once he is ready due to the Health Care Ban.

       144.   At a subsequent October 25, 2023 appointment, Victor’s provider explained

that the bone scan results indicate puberty may be closer to a year-and-a-half or two years

away. A follow-up appointment was set a year out and Vanessa and Vance were advised

to return to the doctor as soon as they see further signs of puberty.

       145.   Victor is terrified of going through a puberty that is completely foreign to

him. With his puberty approaching, his anxiety is growing. Vanessa and Vance are

consumed by fear that the care that their child soon needs is no longer accessible in the

state they call home.

       146.   Since Victor has lived as the boy he is, Vanessa and Vance have noticed a

change in Victor’s demeanor. Before transitioning, Victor did not talk much with others,



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and was easily upset, especially in group settings. Now, Victor is a much more confident

child, calmer and happier, and makes friends very easily.

       147.   Vanessa and Vance cannot bear to witness their child go through physical

changes that will profoundly harm him. Without access to puberty-delaying medication,

there will be devastating harm to Victor’s mental health and irreversible physical harm

associated with development that is inconsistent with his gender. However, Vanessa and

Vance have sown their roots in North Carolina and do not wish to uproot their lives, nor

can they imagine bearing the long-term financial costs associated with leaving the state to

get care for Victor, who is subject to the harms of the Ban for eight more years.

       148.   Should the Health Care Ban continue to remain in effect, the Voe family will

have their lives turned upside down.

       149.   The Doe Family: Jennifer Doe and James Doe are parents to Joy Doe, their

ten-year-old daughter, and three sons. Their family has called North Carolina home for

over five years. Jennifer and James have been married for over twenty-one years and run

several small businesses together. James’ parents live just across the border in Tennessee

and are experiencing health difficulties. Living in North Carolina allows James and

Jennifer to be close to and help take care of them.

       150.   Joy is bright and energetic. She likes to take care of everyone in her family

and has a great relationship with her siblings. She loves playing lacrosse and baking

cupcakes.




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       151.   Joy is transgender. She has always known who she is, and as early as age

two, she was expressing herself as a girl through her style of play and clothing choices.

Growing up with her three older brothers, she always knew she was different from them.

Jennifer and James’ house was full of “boy toys,” superheroes, dinosaurs, and trucks, but

Joy didn’t show any interest in them. At home she would use Jennifer’s skirts to fashion

dresses for herself. Joy did not like her hair to be cut short, and she would often search for

clips to style her hair in typically female ways.

       152.   Around age four, Joy started to express a desire to be able to live as a girl

outside of our home as well. At the time Joy began expressing interest in socially

transitioning, the Doe family was living in another state in the Deep South, and Jennifer

and James felt that where they lived was not an environment in which Joy could thrive. In

the summer of 2018, Jennifer and James researched over twenty states in an effort to

relocate their family to a place that would be more affirming of Joy so that she could have

a fresh start in a town that met the needs of the whole family.

       153.   After careful thought and deliberation, in 2018, Jennifer and James decided

to relocate their family to Wake County, North Carolina. The family found Wake County

to be a welcoming place with great public schools, close proximity to their family living in

Tennessee, and affordable living. Moving to North Carolina gave Joy a fresh start with the

opportunity to begin her social transition without having to always disclose her transgender

identity. She was able to attend school and live in public as the girl she is.




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       154.   Joy has been in the same school since kindergarten. When she began school,

Jennifer and James met with select administrators, teachers, and counselors to let them

know that Joy is transgender and created a plan to support her in living as the girl she is at

school. Joy is careful about who she shares this information with, and many fellow students

do not know she is transgender to protect her safety. Joy wants to be seen as “just one of

the girls.”

       155.   As Joy has gotten older, she has gained more awareness of what her

endogenous (male) puberty would be like if she were forced to undergo it, through

conversations with Jennifer and James. She asks Jennifer questions about how she can

develop breasts when she gets older and expressed that she does not want to go through

male puberty because it does not align with her gender.

       156.   When she was 7 years old, Jennifer and James began exploring medical

gender clinics, and first saw providers at the Duke Child and Adolescent Gender Care

Clinic (“Duke”), and then the University of North Carolina Pediatric Endocrinology Clinic

(“UNC”). Before their first appointment at Duke, they met virtually with a clinical social

worker at Duke who performed a comprehensive psychosocial assessment of Joy. They

subsequently had their first appointment at Duke in June of 2021. For reasons unrelated to

the care provided, including difficulty navigating the large campus, Jennifer, James, and

Joy felt that the Duke clinic was not the right fit and continued their search for another

specialist who works with transgender youth.




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        157.   In July of 2022, the Doe family had their first appointment with Dr. Nina Jain

at UNC. Doctor Jain diagnosed Joy with gender dysphoria in July of 2022. They were

immediately impressed with the environment of the clinic and, most importantly, Joy felt

a personal connection to Dr. Jain. Dr. Jain explained the different types of gender affirming

care to the family, including puberty blockers to pause Joy’s endogenous puberty and

hormone treatment. She explained the benefits and risks of these treatments, including

potential side effects such as impact on growth and fertility.

        158.   The Doe family had a follow up appointment with Dr. Jain in January of

2023, and Joy continued to feel strongly that this care is right for her, and both Jennifer and

James felt adequately informed of and comfortable with the process and next steps in Joy’s

care.

        159.   During the summer of 2023, Joy had her blood drawn for the first time to test

her hormone levels. In August of 2023, Jennifer reached out to Dr. Jain to see if Joy’s lab

results had come back and to ascertain how close she is to reaching puberty. Dr. Jain

informed Jennifer that Joy’s first hormone panel revealed she was at the cusp of Tanner

Stage 2. During a follow up appointment at UNC in early December 2023, Dr. Jain

performed a physical examination of Joy and determined that she is now in Tanner stage 2

and is showing signs of pubertal development. Dr. Jain explained that puberty blockers

are now appropriate to treat Joy’s worsening gender dysphoria, but that H.B. 808 bars her

from prescribing that care.




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       160.   Joy receives her health insurance through Medicaid. She is enrolled in an

AmeriHealth managed care plan.

       161.   Although UNC will continue to monitor Joy’s hormone levels, they have

made clear that they will not be able to prescribe puberty blockers to Joy because it does

not fall within H.B. 808’s exemption for continuing care, and that Joy would have to go

out of state for this care. Jennifer and James fear that even ongoing monitoring of Joy may

not be covered by Medicaid due to the public funding prohibition in H.B. 808.

       162.   Joy is terrified of going through a puberty that might result in irreversible

physical changes to her body that do not match her gender. Joy often expresses to Jennifer

and James how sad she feels that laws like H.B. 808 seek to stop her from getting the care

she needs.

       163.   The Doe family does not wish to leave North Carolina. They are deeply

immersed in the community and have found a home that suits the needs of their entire

family. Relocating to a state where Joy can receive the medical care she needs would

require Jennifer and James to move further away from James’ aging parents. Additionally,

their family is worried about the financial burden associated with moving to a state in which

this care is available, as many of those states have a higher cost of living.

       164.   Because Joy now needs puberty blockers to treat her gender dysphoria, the

family is taking steps to establish care at an out-of-state clinic. Visiting the clinic will be

expensive, time-consuming, and difficult—requiring hours of travel and time off from both

work and school.      Additionally, without Medicaid coverage or some other form of



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assistance, the family will not be able to afford to pay for the puberty blockers out-of-

pocket.

      165.   Not being able to access this care for Joy would be devastating for the Doe

family.

      166.   Dr. Riley Smith: Dr. Smith is a physician licensed to practice medicine in

North Carolina and board certified in family medicine. He attended the Ohio State

University College of Medicine, and graduated magna cum laude in 2018 with a Medical

Doctorate. Dr. Smith completed his residency in family medicine at the University of

Colorado, Denver Health Track, Department of Family Medicine in 2021, and from 2020-

2021, served as the Department’s Chief Resident. Dr. Smith currently practices medicine

at the University of North Carolina School of Medicine’s Department of Family Medicine,

which is located in Chapel Hill, North Carolina.

      167.   Dr. Smith brings his claims on behalf of his patients.

      168.   Dr. Smith began providing gender-affirming medical care during his first

year of residency and is going into his sixth year of providing this care. As a healthcare

provider at UNC, he is the primary care provider for approximately 500 patients, of whom

approximately 78 are transgender. Of those 78 patients, approximately 30 are adolescents

who need gender-affirming care, and approximately five of those patients depend on

Medicaid to fund their gender-affirming healthcare.

      169.   Dr. Smith provides masculinizing or feminizing gender-affirming hormone

therapy to his patients, and treats them in accordance with well-established standards of



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care.   He follows a rigorous informed consent process and evaluates his patients

independently to confirm the existence of any co-occurring diagnoses. After gender-

affirming hormone therapy is initiated, Dr. Smith carefully monitors his patients over a

period of several years to confirm that the dosing is within the physiologic (normal) range

for their gender and to minimize side effects.

        170.   The hormone treatment medications that Dr. Smith prescribes his

transgender patients are also commonly used by cisgender patients for a variety of reasons.

Because this care is administered to both cisgender and transgender patients, the risks and

benefits of the medications are well-understood, as are the processes for appropriate

monitoring to ensure the continuing safety of each prescription.

        171.   The Health Care Ban prohibits Dr. Smith from providing these treatments to

his transgender adolescent patients because they relate “to identifying with and living as a

gender different from [one’s] biological sex,” as defined by the Ban, but he is able to

continue providing the same treatments to his non-transgender patients. N.C. Gen. Stat. §

90-21.150(5) (2023).

        172.   The Health Care Ban places Dr. Smith in the painful conundrum of either

fully complying with the law and therefore abandoning his transgender patients, or risking

the loss of his medical license, which will deprive him of the ability to care for all of his

patients and negatively impact his livelihood. Moreover, the Ban places Dr. Smith in direct

conflict with the accepted, evidence-based guidelines for treating his transgender patients

with gender dysphoria.



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       173.   As a medical provider for patients who experience gender dysphoria, Dr.

Smith has developed a close relationship with both his patients and their families. Seeking

and receiving treatment for gender dysphoria is a profoundly personal and informed

decision based on a person’s innermost sense of self and individual needs. Dr. Smith’s

patients share deeply personal details about their lives with him. Being transgender is also

a subject that remains very misunderstood by the public at large. Many of his patients

therefore require complete privacy, and Dr. Smith believes that, as a medical provider, it is

his duty and obligation to advocate on behalf of his patients who are unable to publicly

advocate for themselves.

       174.   Dr. Smith knows from his personal experience of treating adolescents with

gender dysphoria that the Health Care Ban has and will continue to significantly

compromise the health and well-being of his patients.

       175.   The Health Care Ban bars Dr. Smith from providing hormone therapy to treat

gender dysphoria in his adolescent patients. Dr. Smith is deeply concerned for his current

and future transgender adolescent patients because his experience leads him to believe that

denying his patients access to gender-affirming hormone therapy will likely lead to

depression, increased anxiety, and suicidal ideation.

       176.   In addition, Dr. Smith provides care to minor patients who receive their

health coverage through Medicaid. As such, Dr. Smith is concerned about the health and

wellbeing of his transgender adolescent patients on Medicaid who will be unable to access

the medical care they need without such coverage.



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        177.   Dr. Smith fears that by prohibiting the provision of medical treatment for

gender dysphoria for his transgender adolescent patients, and coverage thereof for his

patients on Medicaid, the Ban will negatively impact the mental health and wellbeing of

his patients by, for example, leading to worsening depression, increased anxiety, and

possibly suicidal ideation.

        178.   PFLAG:     Founded in 1973, Plaintiff PFLAG is the first and largest

organization for LGBTQ+ people, their parents and families, and allies. A Section

501(c)(3) nonprofit membership organization, PFLAG’s mission is to create a caring, just,

and affirming world for LGBTQ+ people and those who love them.

        179.   PFLAG has chapters in 47 states, the District of Columbia, and the U.S.

Virgin Islands.

        180.   Supporting LGBTQ+ young people and strengthening their families has been

central to PFLAG’s work since its founding, and that objective includes encouraging and

supporting parents and families of transgender and gender expansive people in affirming

their children and helping them access the social, psychological, and medical supports they

need.

        181.   PFLAG carries out that commitment through supporting the development

and work of the PFLAG Chapter Network, engaging in policy advocacy for equitable and

protective laws and policies, forming coalitions with organizations who share PFLAG’s

goals, developing trainings and educational materials, and engaging with the media. More

specifically, it includes working with PFLAG families to encourage love for and support



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of their transgender and gender expansive children and to help them ensure that their

children’s needs are met.

       182.   PFLAG has 17 chapters across the State of North Carolina with nearly 400

members.

       183.   Those members include families with transgender youth who would

otherwise be receiving, or would in the future receive, the medical care H.B. 808 prohibits

as treatment under the standards of care for gender dysphoria, including Plaintiffs Victor

Voe and Joy Doe.

       184.   The Ban’s passage has had a dramatic impact on PFLAG families. These

families have sought support and resources from their PFLAG chapters, made contingency

plans for how to access medical care outside North Carolina, and are pursuing mental

health support for the fear, distress, and anxiety they and their children are experiencing

based on the denial of this medically necessary care, as well as coverage for the care. The

harms inflicted by H.B. 808 are widespread for PFLAG families.              Some have had

appointments for scheduled care cancelled and/or are losing access to medical providers

who are leaving North Carolina. PFLAG families have also lost the ability to make medical

decisions for their children, and lost access to medical treatments their children need solely

because they are treatments for gender dysphoria.

       185.   The Ban puts those PFLAG families who have the resources to do so in the

terrible position of having to flee North Carolina, split up their family, or travel regularly




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out of state to obtain medical care. Families without such resources, including many

families enrolled in Medicaid, have even fewer options.

       186.   Being unable, due to the Ban’s strictures, to obtain the medical care that has

helped them thrive, the children of PFLAG families will be put at risk of the serious mental

and physical harm for which those families sought medical care in the first place.

       187.   GLMA:      Founded in 1981, GLMA is the world’s largest and oldest

association of LGBTQ+ and allied healthcare professionals.

       188.   GLMA is a § 501(c)(3) nonprofit membership organization whose mission

is to ensure health equity for LGBTQ+ individuals and equality for LGBTQ+ medical

providers in their working and learning environments. GLMA seeks to achieve this

mission by utilizing the scientific expertise of its diverse, multidisciplinary membership to

inform and drive advocacy, education, and research.

       189.   GLMA’s membership includes approximately 1,000 member physicians,

nurses, advanced practice nurses, physician assistants, researchers and academics,

behavioral health specialists, health profession students, and other health professionals.

GLMA’s members reside and work across the United States, including North Carolina, and

in several other countries. Their practices represent the major health care disciplines and

a wide range of health specialties, including endocrinology, internal medicine, family

practice, psychiatry, obstetrics/gynecology, emergency medicine, neurology, and

infectious diseases.




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       190.   As part of its mission to ensure health equity for the LGBTQ+ community as

well as equality for LGBTQ+ medical providers, GLMA is committed to breaking down

barriers to comprehensive medical care for the LGBTQ+ community. This includes

GLMA’s steadfast commitment to ensure that transgender individuals receive the medical

treatment for gender dysphoria they want, need, and deserve.

       191.   As such, GLMA adopted in 2018, and later affirmed in 2021, a formal policy

statement on “Transgender Healthcare,” which states that therapeutic treatments, such as

hormone therapy and gender-affirming surgeries, are medically necessary for the purpose

of treatment of gender dysphoria, and that they should be covered by all public and private

insurance plans.

       192.   In addition, in 2019, GLMA, in conjunction with the American Medical

Association, published an issue brief titled “Health insurance coverage for gender-

affirming medical care of transgender patients,” which discusses both the positive effects

and outcomes of gender-affirming medical care for transgender patients, as well as the

negative effects and serious health consequences that transgender patients face when they

are denied access to medically indicated treatment for gender dysphoria.

       193.   GLMA considers laws such as H.B. 808 to be an affront to healthcare ethics

and the principles of equality and inclusivity that should govern healthcare practices.

       194.   GLMA’s members and their patients are and will continue to be negatively

affected by H.B. 808.




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       195.   The Ban places GLMA’s medical provider members in the untenable

position of choosing to comply with H.B. 808 and endanger the health and wellbeing of

their transgender adolescent patients or to follow their medical or professional best

judgment and duty to their patients and violate H.B. 808 by providing their adolescent

patients with the care they need.

       196.   This directly harms GLMA’s medical provider members, including Plaintiff

Dr. Smith, who is a GLMA member living and practicing medicine in North Carolina.

H.B. 808’s harms include, but are not limited to, mandatory revocation of licensure for any

health care provider who provides medical treatment for gender dysphoria to adolescents,

in addition to other penalties.

                                    CAUSES OF ACTION

                          COUNT ONE
THE HEALTH CARE BAN VIOLATES THE FOURTEENTH AMENDMENT’S
       GUARANTEE OF EQUAL PROTECTION UNDER THE LAW
     (ALL PLAINTIFFS AGAINST MEDICAL BOARD DEFENDANTS;
AND DOE FAMILY PLAINTIFFS, PROVIDER PLAINTIFF, AND PLAINTIFFS
         PFLAG AND GLMA AGAINST DEFENDANT KINSLEY)

       197.   Plaintiffs repeat and reallege each and every allegation contained in

Paragraphs 1 through 196 as if fully set forth herein.

       198.   Medical Board Defendants and Defendant Kinsley are all governmental

actors and/or employees acting under color of State law for purposes of 42 U.S.C. § 1983

and the Fourteenth Amendment.

       199.   The Equal Protection Clause of the Fourteenth Amendment to the United

States Constitution, enforceable pursuant to 42 U.S.C. § 1983, provides that no State shall


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“deny to any person within its jurisdiction the equal protection of the laws.” U.S. Const.

amend. XIV, § 1.

       200.   The Ban makes it unlawful for a medical professional to “prescribe, provide,

or dispense puberty-blocking drugs or cross-sex hormones to a minor” for the purpose of

“gender transition,” or to “perform a surgical gender transition procedure on a minor . . . .”

N.C. Gen. Stat. § 90-21.151 (2023). It permits the use of these same treatments for other

purposes because it only prohibits use of puberty-blocking drugs and surgical care for

gender transition.

       201.   In addition, the Ban prohibits the use of state funds, “directly or indirectly,

for the performance of or in furtherance of surgical gender transition procedures, or to

provide puberty-blocking drugs or cross-sex hormones to a minor, or to support the

administration of any governmental health plan or government-offered insurance policy

offering surgical gender transition procedures, puberty-blocking drugs, or cross-sex

hormones to a minor.” N.C. Gen. Stat. § 143C-6-5.6(b) (2023). The Ban thus prohibits

Medicaid coverage for transgender adolescents with gender dysphoria, such as Joy Doe,

Plaintiff PFLAG’s minor members, and the patients cared for by the Provider Plaintiff and

Plaintiff GLMA’s members.

       202.   In doing so, the Ban explicitly discriminates against transgender adolescents,

including Minor Plaintiffs Victor Voe and Joy Doe, Plaintiff PFLAG’s minor members,

the patients cared for by the Provider Plaintiff and Plaintiff GLMA’s members, based on

their transgender status and sex, including their failure to conform to stereotypes and



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expected behavior associated with their sex designated at birth. The Ban also discriminates

against the parents of transgender youth, such as Parent Plaintiffs and Plaintiff PFLAG’s

parent members, denying them the same ability to secure urgently needed medical care for

their child that other parents can obtain, and does so on the basis of transgender status- and

sex-based grounds.

       203.   In addition to facially discriminating based on sex and transgender status, the

Ban was also passed because of its effects on transgender people, not in spite of them.

       204.   The Ban was enacted with the specific intent to discriminate against

transgender people.

       205.   Discrimination based on transgender status and sex is subject to heightened

scrutiny under the Equal Protection Clause and is therefore presumptively unconstitutional,

placing a demanding burden of justification upon the State to provide at least an

exceedingly persuasive justification for the differential treatment.

       206.   Transgender people have obvious, immutable, and distinguishing

characteristics that define that class as a discrete group. These characteristics bear no

relation to transgender people’s abilities to perform in or contribute to society.

       207.   Transgender people have historically been subject to discrimination in North

Carolina and across the country and remain a very small minority of the American

population that lacks political power.

       208.   Gender identity is a core, defining trait that cannot be changed voluntarily or

through medical intervention, and is so fundamental to one’s identity and conscience that



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a person cannot be required to abandon it as a condition of equal treatment.

       209.   The Ban does nothing to protect the health or well-being of minors. To the

contrary, it gravely threatens the health and well-being of adolescents with gender

dysphoria by denying them access to necessary care.

       210.   The Ban’s discriminatory treatment of healthcare for transgender adolescents

is not adequately tailored to any sufficiently important government interest, nor is it even

rationally related to any legitimate government interest.

       211.   The asserted justifications for the Ban make no sense in light of how other

medical treatments are regulated by the State.

       212.   The Ban’s targeted prohibition on medically necessary care for transgender

adolescents is based on generalized fears, negative attitudes, stereotypes, and moral

disapproval of transgender people, which are not legitimate bases for unequal treatment

under any level of scrutiny.

       213.   The Ban violates the equal protection rights of the Minor Plaintiffs and their

parents, the equal protection rights of the Provider Plaintiff’s current and future adolescent

patients, and the equal protection rights of members of Plaintiffs PFLAG and GLMA.

                          COUNT TWO
          THE HEALTH CARE BAN VIOLATES THE RIGHT TO
           PARENTAL AUTONOMY GUARANTEED BY THE
         FOURTEENTH AMENDMENT’S DUE PROCESS CLAUSE
    (PARENT PLAINTIFFS AND PLAINTIFF PFLAG AGAINST MEDICAL
                      BOARD DEFENDANTS)

       214.   Plaintiffs repeat and reallege each and every allegation contained in

Paragraphs 1 through 196 as if fully set forth herein.


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       215.   Medical Board Defendants are all governmental actors and/or employees

acting under color of State law for purposes of 42 U.S.C. § 1983 and the Fourteenth

Amendment.

       216.   The Due Process Clause of the Fourteenth Amendment, enforceable pursuant

to 42 U.S.C. § 1983, protects the fundamental right of parents to make decisions concerning

the care, custody, and control of their children.

       217.   That fundamental right of parents includes the right to seek and to follow

medical advice to protect the health and well-being of their minor children.

       218.   Parents’ fundamental right to seek and follow medical advice is at its apogee

when the parents, their minor child, and that child’s doctor all agree on an appropriate

course of medical treatment.

       219.   The Health Care Ban’s prohibition against well-accepted medical treatments

for adolescents with gender dysphoria deprives North Carolina parents of their fundamental

right to make decisions concerning the care of their children, including the Parent Plaintiffs

and Plaintiff PFLAG’s parent members. The Ban also discriminates against the Parent

Plaintiffs and Plaintiff PFLAG’s parent members with respect to the exercise of this

fundamental right.

       220.   The Ban does nothing to protect the health or well-being of minors. To the

contrary, it gravely threatens the health and well-being of adolescents with gender

dysphoria by denying their parents the ability to obtain necessary medical care for them.




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       221.   The Ban’s prohibition against the provision of medically accepted treatments

for adolescents with gender dysphoria is not narrowly tailored to serve a compelling

government interest, nor is it rationally related to any legitimate government interest.

       222.   The Health Care Ban violates the fundamental rights of the Parent Plaintiffs

and Plaintiff PFLAG’s parent members.

                           COUNT THREE
            THE HEALTH CARE BAN VIOLATES SECTION 1557
                   OF THE AFFORDABLE CARE ACT
      (PLAINTIFF JOY DOE, PROVIDER PLAINTIFF, AND PLAINTIFFS
            PFLAG AND GLMA AGAINST DEFENDANT DHHS)

       223.   Plaintiffs repeat and reallege each and every allegation contained in

Paragraphs 1 through 196 as if fully set forth herein.

       224.   Section 1557 of the Affordable Care Act (“ACA”), 42 U.S.C. § 18116,

provides, in relevant part that, “an individual shall not, on the ground prohibited under . . .

title IX of the Education Amendments of 1972 (20 U.S.C. §§ 1681 et seq.)”—which

prohibits discrimination “on the basis of sex”—“be excluded from participation in, be

denied the benefits of, or be subjected to discrimination under, any health program or

activity, any part of which is receiving Federal financial assistance. . . .” 42 U.S.C. §

18116(a); see 45 C.F.R. § 92.3.

       225.   Discrimination on the basis of nonconformity with sex stereotypes,

transgender status, gender, gender identity, gender transition, and sex characteristics are all

forms of discrimination encompassed by the prohibition of discrimination on the basis of

sex under Section 1557.



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       226.     NC Medicaid is a government program administered by Defendant DHHS

that receives federal financial assistance such that it is a “covered entity” for purposes of

Section 1557 of the ACA. The Centers for Medicare & Medicaid Services (“CMS”),

operating within the U.S. Department of Health and Human Services (“HHS”), provides

federal financial assistance to NC Medicaid, which is a health program that is responsible

for many aspects of public health in North Carolina and provides health services to North

Carolinians across the state.

       227.     A covered entity, such as Defendant DHHS, cannot provide or administer

health coverage that categorically prohibits coverage for gender-affirming medical care or

otherwise imposes limitations or restrictions on coverage for specific health services

related to gender transition if such limitation or restriction results in discrimination on the

basis of sex.

       228.     Minor transgender Medicaid beneficiaries, including Joy Doe, Plaintiff

PFLAG’s minor members, the patients cared for by the Provider Plaintiff and Plaintiff

GLMA’s members, have a right under Section 1557 to receive Medicaid coverage through

DHHS free from discrimination on the basis of sex, sex characteristics, gender,

nonconformity with sex stereotypes, transgender status, or gender transition.

       229.     Minor transgender Medicaid beneficiaries in North Carolina, including Joy

Doe, Plaintiff PFLAG’s minor members, the patients cared for by the Provider Plaintiff

and Plaintiff GLMA’s members, will be denied access to NC Medicaid benefits and

subjected to facial and as-applied discrimination on account of their sex because the Health



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Care Ban prohibits any state funds, including Medicaid funding, from being used “for the

performance of or in furtherance of surgical gender transition procedures, or to provide

puberty-blocking drugs or cross-sex hormones to a minor, or to support the administration

of any governmental health plan or government-offered insurance policy offering surgical

gender transition procedures, puberty-blocking drugs, or cross-sex hormones to a minor.”

N.C. Gen. Stat. § 143C-6-5.6(b) (2023).

       230.   The Ban necessarily requires NC Medicaid to violate Section 1557 by

requiring that it discriminate on the basis of sex and transgender status to the substantial

injury of minor transgender Medicaid beneficiaries who will be deprived of coverage for

necessary medical care.

       231.   As a result of the Ban, minor transgender Medicaid beneficiaries in North

Carolina, including Joy Doe, Plaintiff PFLAG’s minor members, the patients cared for by

the Provider Plaintiff and Plaintiff GLMA’s members, have and will continue to suffer

harm, such as distress, humiliation, embarrassment, emotional pain and anguish, violation

of their dignity, and harms to their short- and long-term health and wellbeing from being

denied access to medically necessary healthcare.

       232.   As a result of the Ban, minor transgender Medicaid beneficiaries in North

Carolina, including Joy Doe, Plaintiff PFLAG’s minor members, the patients cared for by

the Provider Plaintiff and Plaintiff GLMA’s members, have incurred or will incur costs to

change providers or costs for travel out of state for access to treatments.




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       233.   Accordingly, Joy Doe, the Provider Plaintiff, and Plaintiffs PFLAG and

GLMA are entitled to declaratory and injunctive relief.

       234.   Without injunctive relief from the discriminatory Ban, Plaintiffs will

continue to suffer irreparable harm in the future.

                                  COUNT FOUR
      VIOLATION OF THE MEDICAID ACT’S EPSDT REQUIREMENTS
   42 U.S.C. §§ 1396a(a)(10)(A), 1396a(a)(43)(C), 1396d(a)(4)(B), and 1396d(r)(5)
          (PLAINTIFF JOY DOE AGAINST DEFENDANT KINSLEY)

       235.   Plaintiffs repeat and reallege each and every allegation contained in

Paragraphs 1 through 196 as if fully set forth herein.

       236.   The Medicaid Act mandates that states provide Early and Periodic Screening,

Diagnostic and Treatment services, which include all services necessary to “correct or

ameliorate” a physical or mental health condition, to Medicaid beneficiaries under age 21.

42 U.S.C. §§ 1396a(a)(10)(A), 1396a(a)(43)(C), 1396d(a)(4)(B), 1396d(r)(5).

       237.   The Ban, and Defendants’ refusal, based on the Ban, to provide coverage for

services for the treatment of gender dysphoria to Plaintiff Joy Doe, and transgender

Medicaid beneficiaries under age 21, violates the Medicaid Act’s EPSDT requirements, 42

U.S.C. §§ 1396a(a)(10)(A), 1396a(a)(43)(C), 1396d(a)(4)(B), and 1396d(r)(5), which are

enforceable by Plaintiffs under 42 U.S.C. § 1983.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully pray that this Court:




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       A.     Enter a judgment declaring that House Bill 808, which categorically prohibits

the provision and state-funded coverage of medically necessary gender-affirming medical

care for the treatment of gender dysphoria, both on its face and as applied to Plaintiffs:

              i.     violates the Equal Protection Clause of the Fourteenth Amendment by

                     discriminating against (1) transgender adolescents and their parents,

                     and all those similarly situated individuals on the basis of sex and

                     transgender status, and (2) the parents of transgender children with

                     regards to (a) their exercise of the right to parental autonomy and (b)

                     their ability to secure necessary medical care for their children that

                     other parents can obtain based on sex and transgender status, and is

                     therefore unenforceable;

              ii.    violates the Due Process Clause of the Fourteenth Amendment by

                     infringing upon parents’ fundamental right to make decisions

                     concerning the care of their children, and is therefore unenforceable;

              iii.   violates Section 1557 of the Affordable Care Act by discriminating

                     against transgender adolescents on the basis of sex, and is therefore

                     unenforceable;

              iv.    violates the Medicaid Act’s Early and Periodic Screening, Diagnostic

                     and Treatment requirements by failing to provide coverage for

                     services for the treatment of gender dysphoria to transgender

                     Medicaid beneficiaries under age 21, and is therefore unenforceable;



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       B.     Issue preliminary and permanent injunctions enjoining Defendants, their

employees, agents, and successors in office and those in active concert or participation with

them from implementing or enforcing the Health Care Ban;

       C.     Waive the requirement for the posting of a bond of security for the entry of

temporary and preliminary relief;

       D.     Award Plaintiffs their costs and expenses, including reasonable attorneys’

fees, pursuant to 42 U.S.C. § 1988 and all other applicable statutes and sources of law; and

       E.     Grant such other relief as the Court deems just and proper.

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Respectfully submitted,                        Dated: March 15, 2024

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                            CERTIFICATE OF SERVICE

      I hereby certify that on March 15, 2024, I caused the foregoing to be electronically

filed with the Clerk of the Court using the CM/ECF system, and have verified that such

filing was sent electronically using the CM/ECF system to all parties who have appeared

with an email address of record.

Dated: March 15, 2024


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